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_ p.W-TRICT COURT
IN THE DISTRICT COURT OF TULSA COUNTY N[j'-.v' 2 6 2014 D
STATE OF OKLAHOMA

LAVERN TAYLOR, _WWS?§§WW§B§&ERK

Plaintiff, GJ .'Cgl@ 1 4“” G 4 5 541 51
vs. _ § Attorney Lien Claimed
D.J. ROOl*`lNG SUPPLY, INC. k g MQFy Fi-{Zg@ra,d

Defendant. §

_s _____PETIT_I_QN. '_

COMES NOW the Plaintiff, Lavern Taylor, by and through his attorney of record,
l Daniel E. Smolen, of Smolen, Smolen & Roytman, PLLC, and brings this action against
the Defendant, DJ Roo'f`lng Supply, Inc., for violation of Plaintiff"s constitutionally
protected rights arising out of his employment and termination by said Defendant. In
support of his Petition, Plaintiff states as follows:
PARTI'ES, JURISDICTION & VENUE

1. This is an action for damages and to secure protection of and to redress
deprivation of rights secured by Title VII of the Civil Rights Act of 1964, as
amended 42 U.S.C. § 2000-2, hereinafter _(“Title VII”).

2. Plaintiff, Lavern Taylor, an African An'ierican male and resident of the State of
Oklahoma, filed a charge of discrimination against the Defendant with the Equal
Employment Oppoitunity Commission (“EEOC”). Plaintiff complained to the
EEOC of discrimination based-on his race.

3. Plaintiff received a Notice of Right to Sue on September 8, 2014, and this Petition

has been filed within ninety (90) days of the receipt of the Notice of Right to Sue.

 

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As such, Plaintif'f has exhausted his available administrative remedies and has
complied fully with all prerequisites in this Court under Title VII.

Conipensatory damages are sought pursuant to 42 U.S.C. § ZOOOe-S(g).'

` Puniiive damages are wright pursuant w 42 U.s.c. § 1981-ii

" Costs and attorney’s fees may be awarded pursuant to 42 U.S.C. § 2000e S(g).

Plaintiff is a resident oi`Tulsa County, State of Oklahoma.

Defendant, D.'J. Rooiing Supply, lnc., operates in Tulsa County and regularly

' employs more tlia`n"i"iitemsii`('`1"5)"e“rripl`c`)'“y'ees"."w "

The incidents and occurrences giving rise to Plaintifi"s claims occurred in Tulsa

County, State of Oklahoma.
Therefore, jurisdiction and venue properly lie in this Court.

FACTS COMM()N TO PLAiNTIFF’S CLAIMS
Plaintii°f incorporates the preceding paragraphs as if re~alleged.
Plaintifi` began his employment with the Dei`endant in July 2010 as a part~time
truck driver. Plaintiff was a loyal employee, and was moved to a full-time
position in January 20]2. During his employment with the Defendant, the
I_?laintiff received an increase in pay of $2.65.
Plaintiff is the only full-time African Arnerican employee
Approximately six months to a year before his termination, the Plaintiff’s direct
supervisor began using racial slurs, primarily “nigger,” and constantly told
racially derogatory jokes in the Plaintiff’s presence
The Plaintiff told his supervisor to stop using this discriminatory language and

making derogatory jokes, however his language and obvious contempt 'for African_

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Americans made it difficult for the Plaintiff to continue Working for the
De:fendant. The supervisor’s racist comments and jokes were severe and pervasive
and the Plaintiff found the treatment to be racially hostile and offensive
4 l7. ln February 2014, one of the Plaintiff’s Caucasian co-workers, Sterlin Wilson, a
white male, yelled “fuck you nigger” at the Plaintiff in the company parking lot,
which instigated a physical altercation between the two employees
l8. Following this incident, the Defendant terminated the Plaintiff from his
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Defendant. This constitutes disparate treatment and discriminatory discharge

based upon race.

FIRST CLAIM FOR RELIEF
DISCRIMINATION BASED ON RACE (TITLE VII)

19. Plaintii`f incorporates the preceding paragraphs as if re-alleged.
20. By continually subjecting the Plaintiff to racial hostility, terminating the Plaintiff,
and treating him differently than similarly»situated 'Caucasian employees in

regards to termination, Defendant violated Title VII of the Civil Rights Act of

1964.
WHEREFORE, Plaintiff prays for judgment against Defendants for:

a. Back pay and lost benefits; front pay until normal retirement;

b. Cornpensatory damages for his mental anguish, pain and suffering and other
non~pecuniary losses;

c. Punitive damages for the intentional and knowing acts of discrimination
committed by Defendants’ management and executives;

d. His attorney fees and the costs and expenses of this action;

Eq'uitable Relief. k

f. Such other relief as the Court deems just and equitable

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SEC()ND CLAIM FOR RELIEF
42 `U.S.C. § 1981

Plaintiff incorporates the preceding paragraphs as if re~alleged.

By continually subjecting Plaintiff to racial hostility, and ultimately terminating
his employment, Defendant and its agents have violated 42 U.S.C §1981.
WHEREFORE, Plaintiff prays for judgment against Defendants for:

a. Back pay and lost benefits; front pay until normal retirement;

b. Compensatory damages for his mental anguish, pain and suffering and other
non»pecuniary losses;

'c”. Pun`itive"`daniage`s"forthe"""iiiteiiti`diial"""'aiid'"l€iiowiiig"""act"s"" oi"'"disc`rimiiiatioiiw…` ' ‘ '…

committed by Defendants7 management and executives;
d. His attorney fees and the costs and expenses of this action;
Equitable Relief.
f, Such other relief as the Court deems just and equitable

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THIRD CLAIM FoR RELIEF
FAILURE To ENSURE A NoN-HosroLE woRK _ENviRoNMENr

Plaintiff incorporates the preceding paragraphs as if re-alieged.
By continually subjecting Plaintiff to a hostile work environment and failing to

properly ensure a non~hostile work environment, Defendant has violated 'l`itle VIl

ofthe Civil Rights Act of 1964.y
WHEREFORE, Plaintiffprays for judgment against Defendants for;

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a. Bacl< pay and lost benefits; ii'ont pay until normal retirement;

b. Compensatory damages for his mental anguish, pain and suffering and other
non-pecuniary losses;

c. Punitive damages for the intentional and knowing acts of discrimination
committed by Defendants’ management and executives;

d. His attorney fees and the costs and expenses of this action;

e. Such other relief as the Court deems just and equitable

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Respectfully submitted,

 

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